Case 3:19-cv-11836-RHC-MKM ECF No. 83, PageID.4967 Filed 10/06/21 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

KELLY C. GALLAGHER and ROBERT
WYATT, individually and on behalf of all
others similarly situated,
                                                  Case No. 3:19-CV-11836
                  Plaintiffs,
                                                  Judge Robert H. Cleland
         v.
GENERAL MOTORS LLC,

                  Defendant.


                                        ORDER
         Before the Court is the parties’ Stipulation Of Dismissal With Prejudice.


         Having duly considered the motion, IT IS HEREBY ORDERED:


         1.    This matter is dismissed with prejudice in its entirety, with each party

bearing its own costs and attorneys’ fees.


         2.    The dismissal of this action with prejudice does not affect or prejudice

the claims or rights of any individual who did not participate as a Plaintiff or Opt-

in to the Lawsuit.




Dated: October 1, 2021                          _s/Robert H. Cleland
                                                Judge Robert H. Cleland

75289442v.1
